Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2701 Filed 11/08/24 Page 1 of 46




  Trial Court Funding
  Commission Final
  Report
  09.06.19




                                STATE OF MICHIGAN
                         TRIAL COURT FUNDING COMMISSION
                                     LANSING
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2702 Filed 11/08/24 Page 2 of 46




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Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2703 Filed 11/08/24 Page 3 of 46




  Table of Contents
  Executive Summary .................................................................................................................................... 4
  Overview ...................................................................................................................................................... 7
  Cunningham, the Legislature, and the Creation of the TCFC....................................................................... 8
  Defining the Problem..................................................................................................................................... 8
  People v. Cameron ....................................................................................................................................... 9
  Caliste v. Cantrell ........................................................................................................................................ 10
  The Role of Timbs ....................................................................................................................................... 10
  Michigan’s Landscape .............................................................................................................................. 11
  Court Structure ............................................................................................................................................ 11
  Court Funding.............................................................................................................................................. 13
  Court Funding System Reform.................................................................................................................... 17
  National Landscape .................................................................................................................................. 17
  Lessons Learned....................................................................................................................................... 18
  A New Court Funding System for Michigan ........................................................................................... 20
  Recommendations .................................................................................................................................... 21
  Recommendation One: Establish a Stable Court Funding System ............................................................ 21
  Recommendation Two: The State Shall Offer to Provide All Court Technology Needs ............................. 25
  Recommendation Three: Establish Uniform Assessments and Centralized Collections............................ 27
  Recommendation Four: Move Toward a Uniform Employment System..................................................... 30
  Recommendation Five: Establish a Transition Plan for the New Court Funding Model ............................. 32
  Appendix A: Definitions/Terms ............................................................................................................... 35
  Appendix B: Financial Information Summary ........................................................................................ 37
  Appendix C: Stakeholder Engagement................................................................................................... 39
  Appendix D: Michigan Trial Courts Maps ............................................................................................... 40
  Appendix E: References........................................................................................................................... 43
  Appendix F: Acknowledgements ............................................................................................................ 46
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2704 Filed 11/08/24 Page 4 of 46




  Executive Summary
  Michigan residents going to court should not face a judge who needs money from a defendant to satisfy
  demands for court operating expenses. The recommendations contained in this report are designed to
  address the historic problem with money’s influence on the justice system as manifested in Michigan.

  The Michigan Legislature created the Trial Court Funding Commission (TCFC), through Act 65 of 2017, to
  review Michigan’s trial court funding system and make recommendations. This legislation was enacted in
  response to People v. Cunningham, a Michigan Supreme Court decision that determined state law does
  not provide courts with the authority to impose costs upon criminal defendants to fund the day-to-day
  operation of the courts.

  The TCFC first reviewed the existing trial court funding system with presentations from experts on circuit,
  probate, and district courts. This information was used to create a comprehensive survey of stakeholder
  groups to determine the nature and extent of existing problems with the trial court funding system. The
  TCFC next identified a set of principles to guide recommendations for change. A list of principles was
  created by the TCFC membership and then compared to national norms to establish a final set of
  governing principles.

  The TCFC has been mindful of the timeliness of this work. Michigan’s trial courts are facing the possibility
  of a financial emergency due to changes in financing methods brought on by People v. Cameron, a case
  which was recently decided in the Michigan Supreme Court, in which the defendant directly challenged
  the constitutionality of the assessment of court operational costs as part of his sentence. Further, the
  United States Supreme Court in Timbs v. Indiana, issued February 20, 2019, questioned the use of courts
  to generate revenue, a conclusion that could impact future court funding. Finally, the TCFC reviewed the
  United States Department of Justice’s report and actions in response to the civil unrest in Ferguson,
  Missouri, where excessive police and court enforcement were used to provide municipal revenue.

  In the midst of these challenges, the TCFC examined Michigan’s historic and existing trial court funding
  system, national innovations, and best practices, as well as some cautionary examples. After extensive
  review and evaluation, the commission has unanimously concluded that the existing system is broken,
  and it is imperative to create a stable and consistent funding source for Michigan trial courts that removes
  trial court judges from the role of raising money for the operation of the courts.

  The recommendations outlined in this report are intended to address the following problems:

      A real or perceived conflict of interest between a judge’s impartiality and the obligation to use the
      courts to generate revenue;
      Inadequate funding from all sources due to excessive dependence on local government funding; and
      Unequal access to justice harming those who are most vulnerable and have the least access to
      financial resources.




  Trial Court Funding Commission Final Report                                                                4
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2705 Filed 11/08/24 Page 5 of 46



  With this framework in mind, the TCFC makes the following recommendations for the governor, Michigan
  Legislature, and the Michigan Supreme Court to consider.

  Recommendation One: Establish a Stable Court Funding System

  A balanced state and local partnership is necessary to ensure that Michigan’s residents have equal
  access to justice. To fulfill this responsibility, the state must create the Trial Court Fund for receipt of all
  trial court assessments and state general fund payments. The Trial Court Fund must then distribute
  appropriate monies to fund trial courts based on operational requirements. Decisions about local trial
  court operations must remain local.

  Recommendation Two: Provide All Court Technology Needs

  The State of Michigan must make available and fund all of the technology needs of the courts, including
  case and document management services, and also supply and manage technology products and
  services for all courts, including hardware, software, infrastructure, training, and ongoing technology
  support. The State will bear the cost of all technology it provides and create a uniform system throughout
  Michigan.

  Recommendation Three: Establish Uniform Assessments and Centralized Collections

  The State Court Administrative Office (SCAO) must establish a system of uniform assessments and
  centralized collections to be implemented for all trial courts. This system will maintain judicial discretion
  for ordering fines within the limits set by law and determination of ability to pay. Centralization of some
  court business functions will reduce cost overall, promote efficiency, and eliminate the ethical dilemma of
  trial court judges being incentivized to maximize revenue from court users for budget support.
  Centralizing court collections will achieve greater efficiency and achieve a higher level of uniform
  customer service.

  Recommendation Four: Move Toward a Uniform Employment System

  There are inefficiencies and inequality in the current payment system for trial court judges’ salaries and
  benefits. The State pays these judicial salaries in part directly and in part by reimbursement to local
  government. Benefits are paid through local government and vary widely. Making the trial court judges
  direct employees of the state eliminates issues of dual employment and allows all trial court judges to be
  treated equally in salaries and fringe and retirement benefits, while removing a considerable cost burden
  from local governments’ budgets. Referees and magistrates should also become state employees to
  allow for common training, easier coordination, and for potential synergies. Over time, state and local
  governments should consider working together to transition other court personnel into state employment
  while being respectful of existing bargaining units and labor agreements.

  Recommendation Five: Establish a Transition Plan for the New Court Funding Model

  In order to implement a new court funding model, there must be a plan for the systematic transition of
  finances and the promotion of funding sustainability. Success will depend on thoughtful planning and a
  phased implementation over a period of years. A task force, led by the SCAO, must be created to develop
  a plan for transition to the new trial court funding model, which must include a timeline for short-term,
  intermediate, and long-term objectives and milestones to be achieved. The transition plan must also
  include technical assistance and funding for local units of government for any shortfall in operating funds


  Trial Court Funding Commission Final Report                                                                        5
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2706 Filed 11/08/24 Page 6 of 46



  due to implementation. Once the model is implemented, a Michigan Judicial Council must be established
  to exercise administrative policymaking authority to ensure continued progress toward a unified Michigan
  court system.

  With the implementation of these recommendations, we will lead Michigan’s court system well into the
  future. This new trial court system will eliminate real or perceived conflict of interests, ensure adequate
  funding and guarantees access to justice.




  Trial Court Funding Commission Final Report                                                                   6
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2707 Filed 11/08/24 Page 7 of 46




  Overview
  Michigan trial courts are funded through a complex collection of general tax revenue and monies
  assessed and collected by the courts. A comprehensive study conducted by the Trial Court Funding
  Commission shows that it costs up to $1.44 billion each year to operate Michigan’s trial courts. This total
  is the sum of funds:
      Transferred from the state (22.7 percent)
      From federal sources (7.2 percent)
      From local funding sources (43.9 percent)
      Generated by the trial courts (26.2 percent)

  A significant proportion of the funds generated by the trial courts are assessments on criminal defendants
  as part of sentencing. The TCFC estimates that these assessments directly account for as high as $291
  million annually in support (most of the 26.2 percent generated). Additionally, approximately $127 million
  of the annual funds transferred from the State originate from court assessments at sentencing. When
  totaled, Michigan trial courts are supported, in significant part, by over $418 million assessed to criminal
  defendants.

  This number is concerning, considering the fact that assessing the cost for the day-to-day operation of the
  courts to criminal defendants was not legal until 2014. Beginning in 1835 with Michigan’s first constitution
  and carrying through to the current one, the State of Michigan requires penal fines to be allocated to
  library funding—not the courts. However, money worked its way into the system and has called into
  question the independence of judicial decision makers. Groups, including the Michigan Municipal League,
  called on the 1962 Constitutional Convention to prohibit “any member of the judicial branch of
  government from being compensated out of fees earned by the court over which he presides.” The
  drafters of Michigan’s current constitution recognized the potential for conflict of interest in judges
  benefiting from the proceeds of their work and prohibited compensation for judges through the existing
  fee system. One result of this concern was the creation of local government-funded district courts in 1968
  (1968 PA 154).

  The constitutional separation of courts and the revenue they produce through the creation of the district
  courts failed shortly after their creation. For example, by 1980, the percentage of court-generated revenue
  in Saginaw County going to libraries sank to 11 percent. The libraries sued and the Michigan Court of
  Appeals (COA) concluded that the libraries were not promised a specific amount of money. However, the
  COA also made it clear that the costs “cannot include the cost of daily operations of the courts or other
  governmental costs”. However, the Michigan Legislature had granted authority to assess convicted
  defendants with costs associated with their arrest and prosecution, including “any cost in addition to the
  minimum state cost . . . ” (MCL 769.1k(1)(b)(ii)). Courts also began to impose costs on convicted
  defendants to fund court operations (contrary to the COA’s decision in the Saginaw libraries case). This
  chain of events and court decisions eventually led to the challenges raised in People v. Cunningham (496
  Mich 145 2014), where the higher courts once again declared that trial courts could not impose court
  costs to fund their operation.




  Trial Court Funding Commission Final Report                                                                   7
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2708 Filed 11/08/24 Page 8 of 46




  Cunningham, the Legislature, and the Creation of the TCFC
  In People v. Cunningham, the Michigan Supreme Court ruled that state law does not provide courts with
  the authority to impose costs upon criminal defendants to fund the day-to-day operation of the courts.
  Instead, state law only provides courts with the authority to assess costs the Legislature has specifically
  authorized and there was no such authority concerning the cost of court operation. This ruling directly
  eliminated the authority to assess monies that pay for roughly 26 percent of trial court expenses. The
  result was a push for swift legislative action to allow the assessing of costs.

  In 2017, the Michigan Legislature, with the enactment of Public Act (PA) 64 of 2017, responded to
  Cunningham by authorizing trial courts to assess criminal defendants the cost of court operations related
  to their case. However, in consideration of the relevant history and calls for caution, a sunset provision
  was included, meaning that authority to assess these costs would exist for only 36 months. Subsequently,
  this sunset was extended to October 2020 and the TCFC was created to review Michigan’s trial court
  funding system and make recommendations to improve its effectiveness, including any changes to the
  methods by which courts impose and allocate fees and costs.


  Defining the Problem
  The TCFC is comprised of 14 commissioners appointed by the governor, representing a variety of
  stakeholders in the operation and financing of trial courts. The commission dedicated itself to an open-
  minded review of Michigan’s current trial court funding system before developing any recommended
  changes.

  Over the past 14 months, the TCFC engaged state and national experts, conducted research, engaged
  stakeholders, and conducted a variety of surveys and analyses to better understand the strengths and
  weaknesses of the existing court funding system in Michigan. The commission identified the following key
  barriers to an effective trial court funding system:

      A real or perceived conflict of interest between a judge’s impartiality and the obligation to use the
      courts to generate operating revenue;
      Inadequate funding from all sources due to excessive dependence on local government funding; and
      Unequal access to justice, harming those who are most vulnerable and have the least access to
      financial resources.

  In order to better understand the problem, and identify potential solutions, the TCFC conducted a survey
  of stakeholders that received 1,097 responses and also conducted interviews with 14 groups of
  stakeholders. Generally, there was agreement from stakeholders on the importance of implementing a
  more unified court funding system. Stakeholders believe a more unified system could deliver services
  more effectively and achieve greater equity in the administration of justice. However, there were concerns
  regarding the centralization of certain services under state government and the potential for the disruption
  of ongoing court services during implementation. The strongest support from stakeholders was for a
  partially unified system, where the state and SCAO provide services (like e-filing, document management,
  and technology) while local communities retain operational control. Exhibit 1 below provides a summary
  of responses from stakeholders regarding how the trial courts should be funded.




  Trial Court Funding Commission Final Report                                                                   8
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2709 Filed 11/08/24 Page 9 of 46



  EXHIBIT 1. Future Trial Court Funding Source

   100%

    80%

    60%
                                      46%
                                                                               39%
    40%

    20%           10%
                                                           4%                                       2%
     0%
            Remain the same     Be more weighted Be more weighted           Be funded            Be funded
                                 toward the state toward local sources     exclusively      exclusively by local
                                general fund (state (local unit general    by the state    unit along with court-
                                    funding)          fund and court-                       generated revenue
                                                    generated revenue)


  Source: TCFC Stakeholder Survey


  The TCFC heard from many stakeholders concerned that the courts are under increasing pressure from
  state and local governments to increase revenue. Some stakeholders believe that even the perception
  that judges are considering revenues when making judicial decisions can undermine the public trust in the
  court system.

  The TCFC focused on those policy solutions that are most effective in addressing these problems while
  also being reasonable and actionable in Michigan’s current political and financial environment. These
  recommendations are provided in this report along with the rationale to support them and best strategies
  for implementation. In order to understand the legal and political environment under which these
  recommendations are being considered, it is important to note the impact of a pending Michigan Supreme
  Court case (People v. Cameron) and a recent U.S. Supreme Court case (Timbs v. Indiana).


  People v. Cameron
  On July 10, 2019, the Michigan Supreme Court considered People v. Cameron, which challenged the
  constitutionality of trial courts assessing criminal defendants the cost of court operations related to their
  case on two technical grounds. The Supreme Court allowed a lower court decision rejecting Cameron’s
  challenges to stand. In a concurring opinion, the chief justice agreed to deny leave because Cameron
  failed to prove either of the technical defects he alleged.

  The chief justice’s opinion warned that the Cameron decision is limited to these specific challenges and
  that the trial court funding system may still be constitutionally flawed. She noted, “the United States
  Supreme Court has consistently overturned convictions where the presiding judge had any form of
  pecuniary interest in a defendant’s conviction. She questioned whether the appearance of impropriety can
  be avoided where local funding units pressure judges to tax criminal defendants to finance court
  operations. Significantly, the chief justice noted that the potential conflict-of-interest issues were not
  before the court in Cameron, “[b]ut I expect we will see them brought directly to us before long.” (People
  v. Cameron)




  Trial Court Funding Commission Final Report                                                                       9
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2710 Filed 11/08/24 Page 10 of 46



   The recommendations contained in this report address the systemic trial court funding problems identified
   by the TCFC regardless of how Cameron was decided. The chief justice acknowledged the TCFC in
   Cameron and urged the legislature to take seriously these recommendations.


   Caliste v. Cantrell
   Court funding challenges are not unique to Michigan. On August 29, 2019, the U.S. Court of Appeals for
   the Fifth Circuit decided Adrian Caliste and Brian Gisclair v. Harry E. Cantrell. The court found
   unconstitutional a court financing structure in Louisiana that relied in part on revenue from bonds set by
   magistrate judges. The court held that the judge received significant nonmonetary benefits from the
   monies generated by his bond determinations. These benefits included helping fund critical pieces of a
   well-functioning chambers. The court also noted, “if an elected judge is unable to perform the duties of the
   job, the job may be at risk.” (Caliste v. Cantrell) In Michigan, judges who assess costs receive similar
   nonmonetary benefits. The court concluded, “it may well turn out that the only way to eliminate
   unconstitutional temptation is to sever the direct link between the money the criminal court generates and
   the Judicial Expense Fund that supports its operations.” (Caliste v. Cantrell)


   The Role of Timbs
   The United States Supreme Court unanimously decided Timbs v. Indiana on February 20, 2019.
   Narrowly, the Timbs decision provides that the “excessive fines” provision of the Eighth Amendment to
   the U.S. Constitution applies to the states through the 14th Amendment’s due process clause. However,
   the discussion in Timbs confirms that the TCFC’s identification of problems with the Michigan trial court
   funding system are well-founded.

   The Supreme Court’s analysis in determining whether or not the “excessive fines” provision of the Eighth
   Amendment applies to the states begins with the question of whether the prohibition on excessive fines is
   fundamental to the American scheme of ordered liberty and deeply rooted in our history and tradition. In
   the Timbs case, the court then discussed America’s legal heritage dating back to 1215 and the Magna
   Carta’s call for proportionate consequences and admonition against unaffordable sanctions. The term
   “fine” was discussed expansively, like the definition of assessment as used by the TCFC. The court went
   on to note that money has had a corrupting influence throughout history, citing as far back as the Stuart
   kings (17th century), who were criticized for using large fines to raise revenue.

   Finally, the Timbs court discussed the potential risk in allowing excessive assessments in criminal cases
   by referencing a previous decision that criticizes such assessments, saying that even absent a political
   motive, fines may be employed in a measure out of accord with the penal goals of retribution and
   deterrence, for fines are a source of revenue, while other forms of punishment cost a state money.




   Trial Court Funding Commission Final Report                                                              10
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2711 Filed 11/08/24 Page 11 of 46




   Michigan’s Landscape
   To grasp the complexity of the court funding challenge, it is necessary to first understand how Michigan’s
   court system is structurally divided as well as where and how funding is currently allocated, and how
   reform efforts have been building to improve the trial court funding system.


   Court Structure
   Over the years, Michigan has struggled to achieve a more unified court system. A paradigm shift occurred
   with Michigan’s 1963 constitution, which introduced the concept that Michigan was a single court with
   several divisions, each devoting attention to a certain level of judicial administration. The Michigan
   Constitution provides that:

               The judicial power of the state is vested exclusively in one court of
               justice which shall be divided into one supreme court, one court of
               appeals, one trial court of general jurisdiction known as the circuit
               court, one probate court, and courts of limited jurisdiction that the
               legislature may establish by a two-thirds vote of the members elected
               to and serving in each house. (Mich. Const. 1963, art. VI, § 1)

   In Michigan, in addition to a supreme court and a court of appeals, there are currently 242 trial courts,
   which include 57 circuit courts, 78 probate courts, 103 district courts, and four municipal courts. There are
   currently 559 total circuit, district, probate, and municipal judges in Michigan. Exhibit 2 below provides
   additional details regarding the structure of Michigan’s trial courts.




   Trial Court Funding Commission Final Report                                                               11
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2712 Filed 11/08/24 Page 12 of 46



   EXHIBIT 2. Michigan Judicial Branch




   Trial Court Funding Commission Final Report                               12
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2713 Filed 11/08/24 Page 13 of 46



   Our constitution is a product of the 1960s when court unification was popular. However, in the 1980s,
   courts began shifting the lens of judicial reform from unification to examination of individual court
   performance. This has opened a more nuanced view of unification that focuses on individual elements,
   which may have more positive outcomes than a comprehensive state-centralized approach. For example,
   studies show that a State-provided, unified information technology system could prove beneficial in terms
   of efficiency and would leave control of other court infrastructure to local government. Centralizing all
   court functions under the State may be problematic but targeting certain specific areas including court
   technology and collections could lead to more efficient and equitable outcomes.


   Court Funding
   In recent years, Michigan’s courts have struggled to deliver justice with diminishing resources, and recent
   court decisions further threaten to remove existing court funding streams. To better understand these
   challenges, the TCFC also sought to determine the amount of resources currently spent within all trial
   court systems. Michigan lacks a system to determine all local court revenues and expenses, as that
   information must be gathered from each of the 165 separate court funding units. Exhibit 3 below provides
   a graphic of the complexity of our current court funding system. The TCFC collaborated with the local
   court funding units to collect accurate financial data as of 2017 to understand the resources used by the
   courts and make policy recommendations based upon those findings.

   Before reviewing local revenues and expenses, it is important to understand the financial resources that
   state government contributes to Michigan’s court system. The state judiciary budget is comprised of 2
   percent ($192.6 million) of the total state general fund budget. The state government funds both the
   supreme court and court of appeals entirely in its budget. Of the $192.6 million of general fund
   expenditures within the state judiciary budget, almost 50 percent ($93.5 million) supports justices’ and
   judges’ compensation. The state reimburses local units for all trial court judge salaries and a minor
   portion of the benefits. While these are sizeable resources to support local courts, it is important to
   understand the level that other funding sources are contributing to Michigan’s court system.




   Trial Court Funding Commission Final Report                                                              13
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2714 Filed 11/08/24 Page 14 of 46




EXHIBIT 3. 2017 Court Equity Funding Sources (in millions)




                                    Trial Court Funding Commission Final Report   14
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2715 Filed 11/08/24 Page 15 of 46




   Sources of Funding
   The current system is dependent upon court assessments (fees, fines, and costs) to generate substantial
   revenues to fund roughly one-third of court operations. The balance comes primarily from local general
   operating funds with the remaining portions from state and federal payments and grants. Exhibit 4, below,
   provides a summary of sources of funding of Michigan’s trial courts. This is a challenge of Michigan’s
   current system—as local general funds are pressured, the temptation rises to increase court revenues
   through court assessments.

   While a significant portion of the court assessments are sent to state government, very little is ultimately
   appropriated from the state’s general fund to actually fund the trial court system. Tens of millions of
   dollars are transferred to other state functions that do not directly support courts. Exhibit 3 provides a
   breakdown of where these court assessment funds are directed.

   State support to the courts is 26.2 percent of all funding. Of this amount, a considerable portion is made
   up of court assessments that are from local courts. Courts and local funding units remit back to the state
   $127 million. When removing the $127 million that is sent back to the state from local court assessments,
   the state share of funding is greatly reduced. Local government units are the largest source of funding for
   trial courts. Exhibit 5 illustrates the amount of state resources that support local judicial systems.

   While these percentages are in total across the state, it should be noted that the range of percentage
   contributions varies greatly. Each local unit varies in its percentages based upon what courts the unit may
   house. For example, most counties have circuit, district, and probate courts. In six Michigan counties
   (Ingham, Kent, Macomb, Oakland, Wayne, and Washtenaw), local municipalities (cities, townships)
   provide for a district court. Given that most user fee revenues are collected in district courts, those local
   units only housing a district court will have a greater portion of their expenses covered by court
   assessments instead of the local funding unit.

   EXHIBIT 4. Source of Local Court Resources




                                                                23%

                                            44%
                                                                      7%



                                                             26%


                State funding (includes both general fund and assessments returned to local units)
                Federal funding
                Court-generated revenue (retained locally)
                Local funding


   Source: TCFC Financial Survey



     Trial Court Funding Commission Final Report                                                              15
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2716 Filed 11/08/24 Page 16 of 46



   EXHIBIT 5. State Contributions to Local Trial Courts

   State grants/payments sent to local funding units:                                                 $96,647,493
   Court equity fund payments:                                                                        $48,697,247
   Total                                                                                         $145,344,740
   Remittances from local units paid to the state:                                               $127,754,717
   Difference (amount of state general fund contribution to local units):                             $17,590,023
   Percentage of local court operations expenses covered by state general fund:                            2.24%

   Source: SCAO Court Payments and Remittances FY 2018 and TCFC Financial Survey


   EXHIBIT 6. Financial Data Survey Results

   Court Function                                          Projected Expense Range                Range Mean
   Circuit court                                         $284,167,824 to $301,456,974            $292,812,399
   District court                                        $208,139,180 to $328,251,257            $268,195,219
   Probate court                                           $46,617,237 to $64,261,713                 $55,439,475
   Other court functions                                 $546,439,015 to $885,971,608            $716,205,312
   Total                                             $1,141,847,711 to $1,436,139,681           $1,288,993,696

   Source: TCFC Financial Survey (see Appendix B for more information)


   EXHIBIT 7. Court Expenditures, by Court Type




                                                                    21%




                                             51%
                                                                      23%


                                                               5%



                     Circuit court      District court       Probate court    Other court functions


   Source: TCFC Financial Survey




      Trial Court Funding Commission Final Report                                                                   16
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2717 Filed 11/08/24 Page 17 of 46




   Expenditures
   The TCFC gathered considerable data from each court and funding unit on its expenditures. A survey of
   local funding units was conducted, and the data was compiled and confirmed for accuracy. Findings from
   the survey of local funding units show that the total cost of Michigan’s court system (outside of the
   supreme court and court of appeals) amounts to between $1.14 billion and $1.44 billion. For purposes of
   this report, calculations use the average of that range (1.29 billion). See Appendix B for a further
   explanation of court expenditures. In addition, Exhibit 6 and 7 provide a breakdown of local trial court
   expenses.


   Court Funding System Reform
   There have been recent efforts in Michigan to address ongoing challenges to the court funding system.
   These efforts have been led by the State Bar of Michigan (SBM), working with other key stakeholders to
   improve the system. The TCFC is building upon these valuable efforts.

   The SBM, court staff, and other key stakeholders have been working to address challenges in court
   funding and improve court performance and the administration of justice. In 2011, the SBM Judicial
   Crossroads Task Force published a report (Delivering Justice in the Face of Diminishing Resources) that
   concluded, “urgent and purposeful action needed to be taken” because the state could no longer afford its
   current court system. The report asserted that the tools exist to change the system and that spending of
   tax dollars must occur more strategically, and that these recommended system changes could be
   implemented without a substantial increase in funding.

   More recently, in 2016, the SBM 21st Century Practice Task Force Report established a roadmap for
   shedding antiquated court customs and applying technology and business process thinking to legal
   practice and court operations. The task force concluded that adopting technology and new analytical tools
   to deliver affordable, quality legal services could improve court efficiency and increase access to legal
   services. The TCFC has incorporated the ideas and lessons learned from these previous efforts and
   concurs with these prior recommendations.

   There has been progress since the publication of these reports and the TCFC seeks to build upon that
   momentum. Changes so far include reform of indigency defense, creation of the business court,
   expansion of concurrent jurisdiction and the reduction of 35 judge positions (as of the report date), and
   expansion of case and document management and technology services for courts across the state.


   National Landscape
   In addition to engaging Michigan experts and stakeholders to better understand the Michigan system, the
   TCFC also researched the national landscape. Over the past 14 months, the commission consulted with
   a select group of experts from across the country to gather insight on how best to design a court funding
   system that promotes efficiency, equitable outcomes, and the effective administration of justice.
   Challenges other states encountered were also outlined.

   The National Center for State Courts (NCSC) provided a national perspective on court funding and
   assisted the TCFC in developing guiding principles. The NCSC discussed various funding and
   expenditure sources for trial courts, the history of how courts were funded, budget principle management,



     Trial Court Funding Commission Final Report                                                               17
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2718 Filed 11/08/24 Page 18 of 46



   adequate funding principles, and the effects of state financing. In addition to these broader principles of
   court administration, principles surrounding fines, fees, and bail practices have become increasingly
   important in guiding the effective administration of justice. A variety of studies and news stories have
   highlighted examples of the harm that can result from unfair or unconstitutional practices as they relate to
   pretrial detention and the imposition of costs, fines, and fees. In order to draw attention to these
   challenges and promote improvements, in 2016, the Conference of Chief Justices and the Conference of
   State Court Administrators established the National Task Force on Fines, Fees, and Bail Practices
   (National Task Force). This group developed recommendations that promote the fair and efficient
   enforcement of the law and created resources for courts to ensure that individuals have access to justice.

   Also, representatives from a variety of states provided key information to the TCFC on best practices and
   lessons learned. Minnesota was identified as a best practice based on its effective transition into a unified
   court funding system. Minnesota’s judicial branch went through a decade-long transition process to a
   unified state system and has been state funded for 13 years. Minnesota’s counties typically are
   responsible for building and security costs. Other incurred expenses are negotiated with the state.

   Arizona was also identified as a best practice even though their court system is not as centralized as
   Minnesota’s. Arizona’s trial court system has a hybrid funding system, where its strengths are court order
   enforcement and a centralized collections program. In addition, the roles and responsibilities of municipal
   court governance are clearly communicated within that model.


   Lessons Learned
   Kansas, Ohio, and California were viewed as states where important cautionary lessons could be learned
   regarding court system funding. Statewide funding appears to work well in Minnesota. However, Kansas
   shows there may be a downside to centralized statewide funding. The centralized statewide funding
   model may subject the courts to political conflict unrelated to court funding. For example, a series of court
   decisions concerning school funding increased tensions between the judicial and legislative branches of
   government with the legislature responding with several attempts to limit the funding of the judicial
   branch.

   Ohio is not a unified judiciary and the TCFC learned that within the judicial system, the various courts do
   not effectively coordinate efforts. Ohio is working to better coordinate its judicial system and seeking
   additional assistance from the state in promoting a more unified approach.

   California experienced challenges to transitioning to a state funding system, and there have been ongoing
   issues in funding court infrastructure and facilities. As a result of not defining roles and obligations related
   to court facilities, those facilities are not being properly maintained.

   Exhibit 8 below distinguishes between those states that are mostly state funded as opposed to those that
   are mostly locally funded.




     Trial Court Funding Commission Final Report                                                                18
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2719 Filed 11/08/24 Page 19 of 46



   EXHIBIT 8. Court Funding in the 50 States




   In addition to learning about the strengths and weaknesses of state funding structures, the TCFC also
   analyzed the impact court funding schemes can have on communities. The TCFC was provided a
   background summary of the events that occurred in Ferguson Missouri on August 9, 2014. In the
   Ferguson case, an unarmed teenager was shot and killed by the police, causing long-term unrest in the
   community. In March 2015, after an investigation, the U.S. Department of Justice called on Ferguson to
   overhaul its criminal justice system, as courts in the city were accused of using law enforcement and the
   court system to generate revenue, specifically through the issuing of expensive citations. This approach
   to generating revenue for noncourt purposes caused constitutionality issues and damaged the trust
   between the community and the local government, courts, and police. To exacerbate the problem, courts
   did not take into consideration the ability to pay. This practice violates principle 1.5 of the National Task
   Force’s report on the Principles on Fines, Fees, and Bail Practices, and violates individual due process
   rights.



     Trial Court Funding Commission Final Report                                                              19
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2720 Filed 11/08/24 Page 20 of 46




   A New Court Funding System for Michigan
   The TCFC’s review of the current state of Michigan’s court funding system and comparison of it to
   national best practices has found that the current system must be overhauled to produce the justice
   outcomes the people of Michigan deserve.

   The TCFC was charged with reviewing existing funding mechanisms and recommending changes that
   would improve efficiency, the administration of justice, and justice outcomes. Commissioners
   unanimously agreed that any and all changes must be based on established principles and tested best
   practices. The TCFC reviewed and incorporated ideas from two sets of principles: the Principles for
   Judicial Administration articulated by the NCSC and the National Task Force Principles on Fines, Fees,
   and Bail Practices. The NCSC has compiled its principles to help guide state-level leaders as they
   restructure court services and secure adequate funding. The National Task Force developed its principles
   to be used as a basis for promoting more fair, transparent, and efficient judicial practices. Building from
   these two sets of national principles, the TCFC adopted key principles to drive the establishment of a new
   court funding system and guide policymakers and transition teams as they implement the TCFC’s
   recommendations. The TCFC guiding principles are prescribed below in Exhibit 9.

   EXHIBIT 9. Guiding Principles

                                                                                       National Task Force on
   TCFC Guiding Principles                                      NCSC Principles        Fines, Fees, and Bail
                                                                6, 11, 16, 19, 23,     1.5, 1.6, 2.3, 3.3, 6.1,
            A standardized system of fees and costs that        20                     6.2
   generates a revenue stream resulting in stable and
   consistent court funding
                            The use of centralization,          5, 6, 11, 23           1.3, 1.10, 2.1, 2.3, 3.2,
   technology, and consolidation to improve efficiency                                 3.5, 6.3, 6.7, 6.8
                                 A process driven by best       1, 4, 15, 16, 17, 20   2.1, 3.3, 3.4, 4.3
   practices, data, outcomes, and accountability
                            A separation of courtroom           10, 13, 19, 25         1.5, 1.6, 1.8, 6.1, 6.2,
   decisions from operating budgets                                                    6.3, 6.8
                            Principles that ensure the courts   14, 25, 12             1.1, 1.4, 1.6, 3.3, 3.5,
   are impartial and fair to all community members                                     4.1, 4.3, 5.1, 5.2, 5.3,
                                                                                       6.5, 6.6
                           Education and training to            7                      1.8, 6.4, 6.7, 7.1
   continuously improve the performance of court staff and
   judicial officers
                                               Importance of    8, 12, 13, 14, 22      3.3
   promoting procedural fairness, access to justice, and
   court safety

   The TCFC envisions a court system focused on administering justice, ensuring public safety, and
   upholding a high level of public confidence. Justice, not revenue, is the desired outcome.




     Trial Court Funding Commission Final Report                                                                   20
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2721 Filed 11/08/24 Page 21 of 46



   Consistent, predictable, and proportional resources across Michigan’s courts are essential in providing
   due process and judicial independence, thereby ensuring the integrity of the court and just outcomes for
   the people of Michigan. This will also provide a platform for accelerating innovation to ensure that the
   evolution of the justice system keeps pace with Michigan’s progress.

   This vision can be achieved by clearly defining and streamlining a new financing model administered by
   the state that includes new state investment into the trial court system. This new court funding system will
   improve justice outcomes by creating opportunities for local governments to increase investment in
   improved law enforcement, criminal justice deferral programs, assistance for mental health services, and
   other innovative programs.


   Recommendations
   The TCFC arrived at five recommendations to implement its vision for a new funding system for
   Michigan’s trial courts. These recommendations are based on sound principles of judicial administration,
   best practices from other states, information about Michigan’s court system, as well as a practical
   understanding of what can be realistically achieved. These recommendations resolve the issues raised by
   Cunningham; meet Act 64 of 2017 obligations; and establish a new court funding system that is more
   efficient, fair, and equitable.


   Recommendation One: Establish a Stable Court Funding
   System
   Summary
   The TCFC recommends establishing a stable court funding model to invest in improved justice and
   performance outcomes, building on existing resources. Rebalancing funding between state and local
   government is essential to ensure ongoing and sustainable funding. Establishing a funding model that is
   consistent, and predictable, with proportional resources across courts is essential in providing due
   process and judicial independence. This new funding model will ensure the integrity of the courts and just
   outcomes for all the people of Michigan.

   Description
   The state must accept responsibility and act to ensure adequate funding for trial courts with local
   government continuing to play a role in providing funding and support of the judiciary. A rebalanced
   state/local partnership is necessary to meet the fundamental duty that everyone has equal access to
   justice. To fulfill this responsibility, the state must create a Trial Court Fund for receipt of all trial court
   collections and receipt of state general fund payments. The Trial Court Fund must distribute necessary
   and appropriate monies to fund trial courts. All functions that support this principle should be state funded
   and managed.

   Court revenues must not be redirected to any noncourt expenses, either within state government or local
   government, including fines which currently fund libraries. In addition, any and all trial court revenues
   must be sent to the Trial Court Fund for distribution to cover court expenses. This requires the state to
   recognize its responsibility to finally fund the trial courts, in partnership with the local funding units.




     Trial Court Funding Commission Final Report                                                                21
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2722 Filed 11/08/24 Page 22 of 46



   When state funding is established, decisions about local trial court operations must continue to be made
   by chief judges. Discretion over the administration of the court will remain with the chief judge in
   conjunction with the normal budgetary appropriation process that occurs with the local funding unit. These
   officials are best positioned to respond to their community’s needs.

   The Trial Court Fund must distribute funds to local governments that fund trial courts according to a Court
   Operations Resources Report (CORR). Similar to the current Judicial Resources Report (SCAO’s report
   of judicial personnel needed), the CORR will be based on a weighted caseload study and appropriate
   allocation for local facility expenses. Case weights should be determined by a thorough statewide study to
   determine how much staff time is needed to fulfill each core function of a court’s work. Differential cost of
   living, and therefore employee compensation, must be done on a regional basis (either by SCAO region
   or state government prosperity regions). The state must determine and ensure that a minimum level of
   staffing, such as district court probation personnel, exists at every trial court since the CORR could result
   in a smaller number of staff than is needed to efficiently operate an office and serve the public. Nothing
   should prohibit a local community from increasing its contribution to ensure a locally appropriate level of
   service. Such additional local funds must not reduce the payment from the Trial Court Fund, as
   established by the CORR.

   Local governments that fund trial courts must maintain their current level of general fund spending (based
   on the average actual expenditures for the three years preceding legislative creation of the Trial Court
   Fund). The state must fully fund the cost of technology, including but not limited to, case management, e-
   filing, and video conferencing. Additionally, the state must fully fund the court collections function and total
   compensation expenses related to judges, one judicial assistant per judge, magistrates, court
   administrators, and probate registrars, with no assessment or cost sharing with the local funding unit for
   these costs. The sum of these expenses must be deducted from the required local government’s current
   level of general fund spending.

   Each court facility is the responsibility of the local government that funds the trial courts that use that
   facility. If a local government has existing debt for a court facility, the CORR must incorporate that annual
   cost into the formula to determine annual payments to local funding units. If no bonded indebtedness
   exists at the time of legislative creation of the Trial Court Fund, the CORR must include a fixed
   percentage of identified facility operating costs. Once a local unit ceases to have debt for a court facility,
   the CORR must then include a fixed percentage of operating costs for facilities for that local funding unit.
   “Existing debt” as used in this section means facilities constructed prior to legislative creation of the Trial
   Court Fund for which debt remains outstanding. A local unit may use facility funds for facility operating
   costs or capital replacement costs.

   Clearly defined roles and obligations related to court facilities are essential to successful transition in
   Michigan. Minimum standards for court facilities should be established in advance and reviewed every
   five years.

   Consistent, predictable, and proportional resources for all trial courts will improve justice outcomes, as
   these courts and their local funding units will be able to focus on justice, not revenue. This change in
   focus will motivate trial courts to meet quality and performance metrics that will improve outcomes. This
   recommendation will establish a baseline for trial court functions, including probation interventions, that
   will ensure equitable access to justice services. The TCFC supports the performance measures created
   by the NCSC, many of which have already been adopted by the SCAO. The CORR must be administered


     Trial Court Funding Commission Final Report                                                                 22
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2723 Filed 11/08/24 Page 23 of 46



   in such a way as to promote the highest achievement on these performance measures. The SCAO
   should be provided additional flexibility through state general fund appropriations to promote innovation
   and continue the growth of problem-solving courts (e.g., veterans treatment, drug and sobriety, eviction
   diversion, and mental health courts).

   Expanded court innovations and efficiencies will help resolve some court funding challenges. The TCFC
   further recommends expanding upon the innovation and success of problem-solving courts and other
   promising innovations. These include: online dispute resolution, programs providing access to justice to
   low-income and other vulnerable court users, community and peer dispute resolution, presumptive bonds,
   and other emerging initiatives. Each of these has the promise of improving justice outcomes.

   Each year the SCAO will be responsible for working with the governor to develop recommended Trial
   Court Fund expenditures for inclusion in the executive budget recommendation. The SCAO will be
   responsible for presentation and explanation of the Trial Court Fund expenditures to the Legislature. The
   Legislature must appropriate the funds necessary to meet the requirements of the CORR as defined by
   the SCAO. The SCAO will then administer Trial Court Fund distribution to each local government that
   funds a trial court. It is understood that the SCAO operates under the supervision of the supreme court,
   and it is anticipated that the supreme court will agree with these requirements.

   The TCFC is aware that the redirection of court costs as a funding stream will have a negative impact on
   the budgets of certain local funding units. Certain courts currently have revenues in excess of their costs,
   but most do not. As the recommendations set forth by the TCFC are implemented, the intent is to level
   the playing field for all parties. As a result of this change, there may be up to a $27 million shortfall for
   these communities’ general fund budgets. Exhibit 10 below provides a representation of this new funding
   system.

   EXHIBIT 10. New Court Funding Model




     Trial Court Funding Commission Final Report                                                               23
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2724 Filed 11/08/24 Page 24 of 46




   Rationale/Findings
   Separating courts from the revenue they create is imperative and fundamental concept in Michigan. The
   first Michigan Constitution in 1835 provided that all penal fines shall be paid to support libraries. This
   directive has remained consistent in each of the state’s constitutions. The current constitution from 1963
   states, “All fines assessed and collected in the several counties, townships, and cities for any breach of
   the penal laws shall be exclusively applied to the support of such public libraries, and county law libraries
   as provided by law.” If the recommendations in this report are implemented, this diversion of court
   revenue will no longer be needed to separate courts from the revenue they create.

   The TCFC has determined that Michigan’s existing trial court funding system is a broken collection of
   assessments and transfers that does not achieve sustainability or equity throughout the state. The new
   trial court funding model will first seek to more equitably share the costs of funding the trial court system.
   It is recognized that this can only be accomplished by the state increasing its investment in the trial court
   system. It is recognized the importance of court costs to the current budget of local funding units.

   It is important to develop a system where funding for the court is predictable, sustainable, sufficient,
   uniform, and fair. Currently, over $30 million per year in local trial court revenues are diverted to other
   non-court state functions, such as corrections, Michigan State Police, Secondary Road Patrol, and the
   state forensic laboratory. Courts should not serve as tax assessors and collectors for the benefit of other
   programs and organizations. Instead, court revenues should be committed to the operations of the courts.
   Reinvesting diverted court revenues in Michigan courts will make up a significant percentage of any
   funding deficit caused by removing pressure on judges to fund their court.

   Implementation Plan
   Short Term
   Creation of the Trial Court Fund would require legislation. The legislation should authorize a distribution
   formula according to the Court Operations Resources Report based on a weighted caseload study and
   appropriate allocation for local facility expenses. The fund will include local ordinance revenue as well. A
   careful transition plan must be established in order to minimize disruption to local municipalities resulting
   from the change in funding. Each and every statute that transfers money to or from a trial court must be
   amended. These amendments shall implement the new funding model. Statutes needing amendment
   have been identified by the Trial Court Funding Commission, see Appendix E (Dillon 2018; Haskamp
   2018; Norton 2018; and Oeffner 2018).

   Long Term
   Legislation requiring local governments to maintain their general fund spending will be needed once the
   Trial Court Fund is providing local revenues. In addition, policies to define minimum court facility
   standards will be needed. CORR will also need to establish any performance measures for local trial
   courts. Ongoing legislative appropriations to maintain the Trial Court Fund will be needed.




     Trial Court Funding Commission Final Report                                                               24
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2725 Filed 11/08/24 Page 25 of 46




   Recommendation Two: The State Shall Offer to Provide All
   Court Technology Needs
   Summary
   To create a uniform system and alleviate burden on court funding units, the State of Michigan must
   provide and fund, through the SCAO, all court technology needs, including case and document
   management services, and must also supply and manage technology products and services, including
   hardware, software, infrastructure, training, and ongoing technology support.

   Description
   Michigan’s trial courts currently use 20 different case management systems and 150 different computer
   systems. In order to aggregate data, each of the trial courts must gather data and transmit it to the SCAO.
   A unified technology system would enable courts to discontinue the use of staff to prepare these reports.
   More significantly, a unified system would enable broader use of online court services and resource
   sharing, would eliminate the cost to provide those services, and would reduce demands on staff, resulting
   in further savings. Technology can enable resource sharing as well, including aspects such as
   interpreters, secure digital court recording, and transcription. The system must, however, continue to
   protect certain confidential proceedings. All of this would result in reduced cost to local government while
   improving service to the public.

   The state already provides courtroom video conferencing, resulting in over $7.4 million in annual savings
   for the Department of Corrections. Local law enforcement is also benefiting by conducting arraignments
   and other proceedings from jail, which provides greater security and reduced transportation costs. The
   SCAO is currently deploying e-filing in all of Michigan’s courts. Providing for all of the technology needs
   for Michigan’s courts will bring greater efficiency and better service to the people of Michigan.

   A unified system will support consistent case processing and record management statewide. The State
   should complete and enhance the new electronic document management system because many courts
   currently lack the resources to effectively and efficiently adapt to new digital systems. This initiative would
   provide a unified platform for document management and eliminate duplicative efforts at the local level,
   providing a tool for the SCAO to manage data in a single location, rather than collect it from individual
   courts, thereby eliminating the necessity for multiple reports.

   A common technology platform will also support the expansion of online dispute resolution. It will be less
   expensive to taxpayers to support a single system than the myriad systems currently supported by local
   funding units. Today, multiple systems create duplication of effort and systemic waste. The purchasing
   power of the state, along with the expertise to assess the value and quality of technology systems, will
   improve the overall quality of the experience of the courts and the users.

   Rationale/Findings
   In a data-driven world, a common data collection point is vital for service improvement. With a common
   system, trial courts would no longer be required to prepare reports from different data management
   systems that make report generation time consuming and difficult. Additionally, the likelihood of error
   would be reduced if the SCAO could collect the data from the system directly. With a single system, the
   likelihood of the data being accurate, reliable, and consistent is improved.



     Trial Court Funding Commission Final Report                                                               25
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2726 Filed 11/08/24 Page 26 of 46



   The SCAO reports that there was resistance to performance measures in Michigan when they were
   originally proposed. Today, judges accept those measures and expect the data that supports those
   measures to be used for improving court operations. Trial courts routinely provide these reports to local
   media to demonstrate how well the court is performing.

   Research also suggests that more state dollars to support in-service training, a statewide personnel
   system, and a statewide information technology (IT) system are cost-saving measures of unification. This
   unification will also improve access to services, improve the customer experience, and drive improvement
   in system performance. For example, online dispute resolution supported by a statewide IT system
   greatly increases access to court—over 50 percent of the public that uses online dispute resolution report
   that they could not have participated in the proceedings at all without this service.

   In relation to this accessibility improvement, TCFC research found dramatically unequal resource
   allocation between courts and, therefore, vastly different court experiences for those using the system.
   The State must act to provide a uniform experience for all court users and provide transparency in the
   governance of the judicial branch. Uniformity in reporting and understanding of court performance across
   all communities must be achieved. All courts should be able to opt in to a standard technology platform.
   Currently, the various court systems provide inconsistent and inefficient reporting.

   These challenges should be addressed by the SCAO providing technology to ensure equity in resources
   for all courts while also improving court efficiency. This leadership role will allow the SCAO to partner
   through agreements with their IT staffs of local funding units as well.

   The SCAO must bear the cost of all technology enhancements. State general funds must be appropriated
   to the Trial Court Fund to meet this need. This will create efficiencies and a better model to further
   improve the court system.

   Implementation Plan
   Short Term
   Statutory authority will be needed to designate court technology to be paid for from the Trial Court Fund.
   Once statutory authority is established, a legislative appropriation for court technology will be needed.
   The state must fund this service either through the state general fund or through civil filing fees or a
   combination. Any filing fee must remain as low as practical and funds received through this fee must be
   transmitted to the Trial Court Fund like all other trial court revenue.

   A comprehensive technology plan needs to be developed by the SCAO incorporating all the technology
   elements contained within the recommendation. This plan will include a transition plan for all local courts
   to use the state unified technology system. Through its technology plan for courts, the state will provide
   case management services to all courts and continue its development of e-filing across the state.

   Long Term
   Based on the technology plan, the SCAO must supply and manage all technology products and services
   for the courts. Ongoing legislative appropriations will be needed to support technology in trial courts.




     Trial Court Funding Commission Final Report                                                               26
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2727 Filed 11/08/24 Page 27 of 46




   Recommendation Three: Establish Uniform Assessments
   and Centralized Collections
   Summary
   The TCFC recommends that a system of uniform assessments and centralized collections be
   implemented for all courts as a function of the SCAO. This system will maintain judicial discretion for
   ordering fines within the limits set by law and determining indigence (ability to pay). This new system will
   help ensure that the administration of justice is separate from the business function of the court.

   Description
   A variety of court business functions can be performed centrally that will reduce cost overall, promote
   efficiency, and eliminate the ethical dilemma of judges being incentivized to maximize revenue from
   parties to support their budgets. This new uniform system, administered by the SCAO, would build public
   confidence in the impartiality of the justice system and improve efficiency.

   Efficiency in overall court operations will be enhanced with centralized core court business functions.
   Within each local court system an individual collection system exists. Centralizing court collections will
   achieve greater efficiency and achieve a higher level of uniform customer service. It is essential that the
   business function of court collections be removed from the trial courts and transferred to the state to
   ensure that administration of justice is the courts’ sole function.

   The best way to achieve this goal is through mandates from the supreme court and legislation that
   requires this focused standardization of the business functions of the court. An element of the centralized
   collection process is to eliminate all non-court-related assessments and create greater uniformity.

   Standardizing fees and costs will prevent judicial and/or government abuse of the system by
   disincentivizing the use of courts to generate revenue as opposed to administer justice. However, judicial
   discretion should be available when assessing fines to allow a court to consider specific circumstances in
   reference to the matter pending before the court.

   Court fines and costs must be assessed upon and subject to an individual's ability to pay. Important
   functions of a logical court funding model are to streamline the courts and require them to follow the same
   guidelines when determining fee amounts or an individual’s ability to pay. Thus, having uniformity and
   consistency for revenue generation and distribution is critical to establishing a system that is perceived as
   fair for all involved. In its collection practices, the state shall comply with appropriate state and federal
   law. By centralizing collections, Michigan can reduce the cost to local units and increase the efficiency of
   collections, eliminating incentives for generating revenue. All court revenues must be subject to this new
   state collections program.

   The SCAO must establish the appropriate actual cost for civil infraction and criminal cases. Costs
   assessed to an individual defendant must be based on a sliding scale and ability to pay, as established by
   the SCAO.




     Trial Court Funding Commission Final Report                                                              27
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2728 Filed 11/08/24 Page 28 of 46




   Rationale/Findings
   This new uniform assessment and centralized collections policy will eliminate the ethical dilemma judges
   face as well as the public perception that judges fine individuals in order to fund their courts. Additionally,
   this policy will separate judicial function from revenue collection, eliminating a conflict of interest.

   A judge’s decision to impose a legal financial obligation should be entirely unrelated to the use of revenue
   generated from the imposition of such obligations (Principle 1.5, Principles on Fines, Fees, and Bail
   Practices, December 2017). Centralizing judicial collections will streamline judicial function, as collections
   are a poor use of judicial time and court resources. Creating consistency of collections around the state
   will also help ensure equal treatment of offenders.

   For example, the collection of restitution for crime victims is a priority of trial court collections, and
   transferring this responsibility to the state will allow greater collection opportunities by the department to
   collect on behalf of the victims. Ensuring that victims receive funding and support must remain a priority.

   Court assessments would be based on a cost allocation plan calculated using the standards in OMB
   Circular A-87 and calculated by an independent party every five years. This circular provides principles
   and standards for determining costs for grants, awards, and other agreements with state and local
   governments.

   Implementation Plan
   Short Term
   Legislation is needed to authorize SCAO to create standardized court assessments. This legislation will
   provide judicial discretion to reduce court assessments based on ability to pay. Once legislation is
   passed, rules will be needed authorizing the SCAO to establish a fixed schedule for court assessments
   that are based on actual costs, which will be implemented across all courts in phases. The SCAO will also
   need to develop the appropriate forms and the technology to deliver them.

   Legislation is also needed authorizing the Michigan Department of Treasury (Treasury) to collect
   assessments for each court. The Treasury will then need to implement rules and procedures on the
   transmittal of assessments from local courts to the Treasury. The Treasury will also need to establish its
   procedures for collecting assessments. It is important to require that the Treasury consider ability to pay
   as a criteria for collection and include an opportunity for community service if a person does not have the
   financial resources to pay for court assessments.

   Legislative action on these recommendations must be adopted prior to the sunset of Act 64 of 2017. The
   Legislature should extend the statute allowing for fines and costs to be imposed in criminal cases until the
   state acts to replace this court-generated revenue with state general fund support.

   Long Term
   Once the system is in place for state collections through the Michigan Department of Treasury, local
   courts will transfer outstanding collections to the state. Legislation will be needed to make this transfer.
   Policies from Minnesota could be looked at as a best practice for centralizing court payment processing.




     Trial Court Funding Commission Final Report                                                                28
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2729 Filed 11/08/24 Page 29 of 46



   Several pieces of legislation will be needed to move existing revenues directed to noncourt expenses to
   the Trial Court Fund (see Exhibit 2 for a listing of existing revenues). Once the State decides on an
   alternative funding stream for libraries, a constitutional amendment should be pursued to provide penal
   fines to the Trial Court Fund.




     Trial Court Funding Commission Final Report                                                         29
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2730 Filed 11/08/24 Page 30 of 46




   Recommendation Four: Move Toward a Uniform
   Employment System
   Summary
   Michigan lacks a uniform system of justice due in large part to disparate and unequal local funding. All
   court employees, beginning with trial court judges, referees, and magistrates, should be transitioned to
   state employment, which would provide for uniform compensation, wages, and benefits as well as
   standardized qualifications for nonjudicial personnel, training, and conduct requirements. This is a long-
   term goal that should incrementally progress after other recommendations are enacted.

   Description
   The transition to state employment should begin with trial court judges, as they are currently both state
   and local employees. The initial transition should also include referees and magistrates. Ultimately, this
   transition would make all trial court judges, referees, and magistrates solely state employees for all
   purposes, including salary, compensation, liability, healthcare, and retirement benefits. Additionally, the
   change would result in equal compensation and benefits for trial court judges, referees, and magistrates
   across the state. Current trial court judges, referees, and magistrates should be allowed an opportunity to
   continue with existing compensation, benefits, and expense programs. This would be similar to the
   transition from defined benefit pensions to defined contribution programs for state employees in 1997.

   The SCAO should be assigned the responsibility of developing a plan for phasing in all other court
   employees. The TCFC recommends transitioning by categories of court employees, such as court
   administrators, probate registers, probation officers, and clerks on a set schedule. This process will also
   include establishing uniform standards for compensation, benefits, qualifications, training, and conduct,
   with the intent of improving the performance of court employees.

   It is important to focus on the uniform employment concept from both organizational and administrative
   perspectives. All court employees should be under a single employer instead of the current decentralized
   and inconsistent system. Employees are currently compensated and managed under a vast array of
   standards based on the policies and resources of each local unit of government and court, which results
   in a myriad of challenges and essentially no uniformity of court employees across the state.

   Rationale/Findings
   Currently, the State pays trial court judges’ salaries—part directly to the trial court judge and part as a
   reimbursement to the funding unit. With the added processes of payment and reimbursement, as well as
   dual employment, this method of salary payment is inefficient. Making trial court judges, referees, and
   magistrates state employees would:

       Standardize salaries, fringe benefits, and retirement benefits so that there is equal treatment
       Transfer the cost of visiting judges from funding units to the state
       Allow for more direct control over temporary assignments if help is needed in other courts
       Provide for easier and more uniform training and education
       Eliminate considerable costs for the local communities and funding agencies
       Eliminate dual employment concerns




     Trial Court Funding Commission Final Report                                                                30
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2731 Filed 11/08/24 Page 31 of 46



       Help maintain the separation of the three branches of government as well as judicial independence
       Allow for consolidation or elimination of judgeships where demand for the service is less

   Courtroom personnel, in assisting trial court judges, should be directly supervised by the judge.

   Implementation Plan
   Short Term
   Legislation is needed to transition judges, referees, and magistrates to direct employees of the State of
   Michigan, including moving them to state benefits. Current trial court judges, referees, and magistrates
   must be given the option to continue with existing compensation, benefits, and expense programs. The
   State should transition trial court judges, referees, and magistrates to state employment to begin to build
   a more streamlined and clearer organizational structure for the courts under the judicial branch.

   After trial court judges, referees, and magistrates become state employees, the SCAO will develop a
   transition plan to move court administrators and probate registers into state employment. This will occur
   once the Trial Court Fund is providing adequate funding for trial courts. Legislation is needed to transition
   these employees.

   Long Term
   Eventually, all court personnel will become employees of the State of Michigan. The Michigan Supreme
   Court will develop a plan to transition court employees into a single employer under the state, with the
   goal of uniformity within local trial courts.




     Trial Court Funding Commission Final Report                                                              31
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2732 Filed 11/08/24 Page 32 of 46




   Recommendation Five: Establish a Transition Plan for the
   New Court Funding Model
   Summary
   In order to implement a new court funding model, there must be a plan for the systematic transition of
   finances and the promotion of funding sustainability. Success will depend on thoughtful planning of a
   phased implementation that recognizes it will take time to fully achieve the goals laid out in these
   recommendations. The SCAO must lead the drafting of this transition plan, which must include technical
   assistance and funding to local units of government to cover the residual burdens of local support for the
   courts throughout the implementation.

   Description
   In order to implement a new court funding model, there must be a plan for systematic transition of
   finances and funding sustainability that is thoughtful and deliberate in order to minimize disruption to local
   courts and funding units. The plan must address how functional areas of operation in IT (including case
   management), facilities, assessments, collections, uniform employment, and other court operations will be
   transitioned under the recommendations from the TCFC. It is important that this transition plan hold local
   governments harmless (i.e., no additional funding is required from local funding units to cover the costs of
   a transition to a new funding model). The basis for this position is the current funding model and the
   unequal funding obligation currently residing with local funding units supporting the state court system.
   The state government should provide all funding and resources necessary to cover transition plan costs.
   The SCAO must be provided with a funding appropriation to begin the implementation and operation
   phase of the transition plan based upon their expertise in understanding what will be required for success.

   The transition plan must lay out a timeline for short-term, intermediate, and long-term objectives to be
   achieved. To assist and support the SCAO, a legislatively created task force must be established to
   implement the recommendations and lead the transition. Membership of the task force must include key
   stakeholders from the Michigan Department of Treasury; the Michigan Legislature; the Executive Office of
   the Governor; Department of Technology, Management, and Budget; Michigan Association of Counties;
   Michigan Municipal League; Michigan Townships Association; judicial associations; county clerk
   associations; Prosecuting Attorneys Association of Michigan; State Bar of Michigan; practicing attorneys;
   court administrators; and the general public. The primary purpose of the transition task force is to ensure
   the TCFC’s vision is realized through the implementation of a new model to fund Michigan’s trial courts.

   Once the new trial court funding model has been implemented, a Michigan Judicial Council shall be
   created. The council will be made up of court system stakeholders and housed under the Michigan
   Supreme Court. The council will explore and prioritize with the SCAO the additional actions that must be
   taken to continue implementing TCFC recommendations. In collaboration with SCAO, the council must
   include an evaluation component to measure the timely and effective implementation of each of the TCFC
   recommendations to ensure they are achieving the intended outcomes.

   As new technologies are introduced, the council must ensure that legislation, rules, and practices are
   modified to take advantage of these new tools to support court services. Beyond applications that include
   e-filing and benefits of unified case management, efforts should include strengthening the overall value of
   technology to make better use of court resources and ensure success through rigorous pilot programs



     Trial Court Funding Commission Final Report                                                              32
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2733 Filed 11/08/24 Page 33 of 46



   and testing ahead of statewide implementation. As the state continues providing services to Michigan
   residents in the information age and beyond, it is essential that court services have a central focus in
   leading technologies that may assist in providing additional avenues to promote timely access to the
   justice system.

   A system for funding trial courts that is simpler than the current model will save both overall costs and
   enhance transparency in the allocation of resources and the sources of funding. The Michigan Judicial
   Council must adopt a schedule of consistent and uniform assessment of costs and ensure there is an
   equitable range of costs across all courts. Standardized fines, fees, and costs within a reasonable range
   to assist in preventing judicial or government abuse of the system must be implemented. These fines,
   fees, and costs should allow for trial court judges to have discretion when assessing fines so that a court
   can consider the specific circumstances in reference to the matter pending before the court, including a
   limit on costs and fines in relation to an individual’s ability to pay. An important element of a logical court
   funding model is for all courts to follow the same rules and guidelines. Having uniformity and consistency
   for court collections is critical to establishing a system that is perceived as fair for all involved.

   Rationale/Findings
   The TCFC recognizes that court operations must change to successfully realize these recommendations.
   The changes will allow for an improved funding model and overall enhancements to the Michigan court
   system so court services may be more equitably delivered to Michigan’s residents.

   The legislatively created task force would drive the full transition plan, understanding the time required to
   successfully implement TCFC recommendations. The task force will develop a realistic structure and
   schedule for transition implementation and oversight, initially focusing on achieving the goals of the new
   court funding model. The task force will then create the Michigan Judicial Council to facilitate the long-
   term implementation effort. This task force will report annually to the legislature on progress in
   conjunction with making requests for adequate appropriations for sustainable funding.

   Implementation Plan
   Short Term
   Legislation must be enacted to establish an implementation task force of key stakeholders authorized to
   create a transition action plan, in conjunction with the SCAO, and oversee implementation of the new
   court funding model transition. This task force will report annually to the legislature on its progress. The
   SCAO, with guidance from the task force, will establish a formula based on case weights to be used to
   distribute and fund the trial courts. Variances must be made to ensure staff is funded appropriately in
   order to meet basic operational needs of each court. It will be essential to appropriate funding for the
   SCAO to administer the implementation plan and provide for its success.

   If court costs are eliminated as a source of trial court funding prior to the case weight formula being
   developed and implemented, the SCAO must be authorized to devise an allocation formula based on
   existing data. Funds necessary to meet this shortfall must be appropriated by the legislature.




     Trial Court Funding Commission Final Report                                                                33
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2734 Filed 11/08/24 Page 34 of 46




   Long Term
   After the task force has completed its planning and a new funding model is in place, rules are needed to
   create the Michigan Judicial Council under the judicial branch. The council will address ongoing and
   longer-term implementation and action efforts, and will also monitor outcomes and make suggestions or
   take appropriate action to modify the TCFC’s core recommendations if unintended outcomes occur.

   In conjunction with the supreme court, the Michigan Judicial Council will develop a plan to align all court
   employees under a single state employer following the transition of trial court judges and court
   administrators. Alignment of the employment structure should occur through a long-term approach and be
   completed in phases, with careful consideration for uniformity of organizational structures, workload and
   staffing match, and local adjustment for equitable compensation.




     Trial Court Funding Commission Final Report                                                           34
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2735 Filed 11/08/24 Page 35 of 46




   Appendix A: Definitions/Terms
      State court system: The state court system is divided into the constitutionally created supreme
      court, court of appeals, a trial court of general jurisdiction known as the circuit court, a probate court,
      and the legislatively created district court (Const 1963, art 6, §1 and the Revised Judicature Act of
      1961, MCL 600.101 et seq).
      Court administrator: Includes the highest-level administrator, or director of the court, who functions
      under the general direction of the chief justice or chief judge
      Court assessments: All monies authorized by statute to be paid to the court. These assessments
      are defined as follows:

          Restitution: Money collected by the court to be paid directly to a victim of a crime
          Fees: Imposed on an individual for a service provided directly to that individual (e.g., court-
          appointed attorney fees)
          Fines: Imposed on an individual for a violation of statute or ordinance

          •   Statutory fines: Imposed for a state penal law violation or civil infraction
          •   Ordinance fines: Imposed for a violation of a municipality’s ordinance

          Court costs: Any cost reasonably related to the actual costs incurred by the trial court without
          separately calculating those costs involved in the particular case, including, but not limited to:

          •   Salaries and benefits for relevant court personnel
          •   Goods and services necessary for the operation of the court
          •   Necessary expenses for the operation and maintenance of court buildings and facilities

      Court expenses: Costs of operating a trial court (including compensation for all judicial employees
      and court facilities), restitution paid directly to a victim, funds paid directly to crime victims pursuant to
      the William Van Regenmorter Crime Victim Rights Act, records retention and archival programs,
      supportive programs within the judicial branch (e.g., Michigan Judicial Institute), access to justice
      programs and civil legal assistance to low-income individuals, and community dispute resolution
      centers
      Court technology: Capital equipment used to operate the court, including computer hardware and
      software, training, court video systems to record proceedings and to allow remote access
      communication/participation, audio recording and amplification equipment
      Case weight: The average number of minutes necessary to perform certain tasks associated with a
      case
      Case load: The number of cases filed in a court
      Justice outcomes: The sum of the experience an individual has with the court system that, taken
      together with all cases before the court, creates community safety and well-being and reduces
      reoffence (includes access to the court, representation, trial process, diversion opportunities,
      sentencing, supervision, probation, and the performance of the courts across the state according to
      SCAO standards)




     Trial Court Funding Commission Final Report                                                                 35
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2736 Filed 11/08/24 Page 36 of 46



      Problem solving courts: Evidence-based probationary programs to address specific needs for
      enhanced supervision and treatment designed to reduce recidivism (e.g., drug court, sobriety court,
      mental health court, and veterans treatment court)




     Trial Court Funding Commission Final Report                                                        36
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2737 Filed 11/08/24 Page 37 of 46




   Appendix B: Financial Information Summary
   Local trial court financial information is not collected by the State of Michigan. Some past studies have
   attempted to project local court expenses, but the data is outdated. To determine local finances, the
   TCFC surveyed all local funding units and courts requesting all revenue and expenditure information from
   their last audited fiscal year. The data collected for court revenue and expenses includes all local unit
   court types (circuit, probate, and district) as well as data for other court functions including friend of the
   court, child care fund, security services, clerk costs covered by the county clerk, and all specialty courts
   (see Exhibit 12 for a breakdown of these expenses). The 83 counties and 47 municipalities with local
   courts were surveyed with a total maximum response number of 130. A total of 109 local funding units
   provided responses to the survey, which represents responses from 95.8 percent of Michigan’s
   population covered by those courts.

   The survey response data was compiled by Public Sector Consultants (PSC) and confirmed against
   known totals including Court Equity Fund payments and state remittances as provided by the SCAO for
   accuracy. Using the data set, several models were constructed to estimate total court funding by
   projecting those data elements to the state as a whole. The model took into consideration both court size
   (based upon the number of judges and population served) as well as court type (circuit, district, and
   probate court) to project a single statewide total. Finally, the model data and the survey results were used
   to calculate 95 percent confidence intervals around the statewide total. This is the data used for any
   calculations in this study:

   EXHIBIT 11. Projected Local Trial Court Expenses, Assessments, and State Remittances

                                                            Projection (Range                    Range with
   Line Item                                                            Mean)         95 Percent Confidence
   Total court expenditures                                     $1,288,993,696              $1,141,847,711 to
                                                                                              $1,436,139,681
   Total court assessments (retained by the local unit)           $255,121,674                $218,814,209 to
                                                                                                $291,429,139
   Total state remittances                                        $134,549,943                $132,662,336 to
                                                                                                $136,437,549

   Findings from the survey of local funding units using the projection model show that the total expenses of
   Michigan’s local trial court system is between $1.14 billion and $1.44 billion. For purposes of this report,
   calculations use the average of that range ($1.29 billion).

   The same model was used to produce expense ranges for each of the court types (circuit, district,
   probate, and other court functions). The mean for each of these ranges is used for any calculations in this
   report. Included in this table is the proportion of expenses based on both the range and the proportions
   from the actual data collected from the local courts. Given the high level of responses to the survey, this
   comparison assisted in demonstrating the accuracy of the model calculations. For purposes of this report,
   the actual expense proportions are used.




     Trial Court Funding Commission Final Report                                                              37
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2738 Filed 11/08/24 Page 38 of 46



   EXHIBIT 12. Projected Local Trial Court Expenses by Court Type

                         Projection (Range             Range with 95             Proportion of       Actual Proportion
   Court Type                        Mean)        Percent Confidence          Projected Range             of Expenses
   Circuit court               $292,812,399            $284,167,824 to              18% to 23%                       21%
                                                         $301,456,974
   District court              $268,195,219            $208,139,180 to              20% to 26%                       23%
                                                         $328,251,257
   Probate court                 $55,439,475            $46,617,237 to            4.1% to 4.5%                      4.8%
                                                          $64,261,713
   Other court                 $716,205,312            $546,439,015 to              48% to 62%                       51%
   functions*                                            $885,971,608

   *Other court functions include friend of the court, child care fund, security services, clerk costs covered by the county
   clerk, and all specialty courts.


   The data from the survey responses also provided calculations of the sources of funding based on the
   total expenses. The TCFC survey collected data for all court functions, including the county child care
   fund, which falls outside of the operations of the court (a small amount of the county child care fund does
   fund operations in the juvenile division). To better assess the funding streams for court operations, the
   TCFC also compared the funding sources for court operations only (i.e., total court expenses minus
   county child care fund). The following table provides the funding source percentages based on total
   expenditures as provided by the actual data:

   EXHIBIT 13. Sources of Local Trial Court Funding

                                                           Source as a Percentage of          Source as a Percentage
   Funding Source                                           Total Court Expenditures             of Court Operations
   State funding (includes both state general fund                                 22.7%                           14.4%
   and assessments returned to local units)
   Federal funding                                                                  7.2%                           10.1%
   Court-generated revenue (retained locally)                                      26.2%                           32.4%
   Local funding                                                                   43.9%                           43.1%
   Total                                                                            100%                           100%




      Trial Court Funding Commission Final Report                                                                          38
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2739 Filed 11/08/24 Page 39 of 46




   Appendix C: Stakeholder Engagement
   To inform their mission and recommendations, the TCFC conducted a survey to solicit feedback from key
   stakeholders across the state. This survey helped TCFC members understand the current system and
   helped them design realistic, actionable recommendations. The TCFC received over a thousand
   responses from a diverse group of stakeholders, including attorneys, judges, organized labor, local
   government leadership and others. The stakeholders identified key problems and solutions that the TCFC
   should address. The exhibit below summarizes the key issues survey respondents said should be
   addressed by the TCFC.

   EXHIBIT 14. Issues TCFC Should Address, All Survey Respondents



    Court-imposed fines and costs should only fund court                                      62%
       operations and not be used to fund noncourt
                                                                       16%
     functions, such as libraries and non-court training
                    programs (n= 1,053)                                     22%


    Promote judicial independence; courts should make                                                      92%
    independent decisions that are not influenced by the
                                                                 4%
    need to generate revenue to support their budgets (n
                          = 1,057)                               4%


                                                                                                     77%
      Streamline and consolidate court services, courts
    should improve efficiency, reduce costs, and create a         8%
         more efficient statewide system (n = 1,054)
                                                                      14%

                                                            0%        20%         40%   60%         80%    100%

                                                   Yes      No    Not sure




     Trial Court Funding Commission Final Report                                                                 39
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2740 Filed 11/08/24 Page 40 of 46




   Appendix D: Michigan Trial Courts Maps




     Trial Court Funding Commission Final Report                             40
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2741 Filed 11/08/24 Page 41 of 46




     Trial Court Funding Commission Final Report                             41
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2742 Filed 11/08/24 Page 42 of 46




     Trial Court Funding Commission Final Report                             42
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2743 Filed 11/08/24 Page 43 of 46




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Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2744 Filed 11/08/24 Page 44 of 46



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     Trial Court Funding Commission Final Report                                                           44
Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2745 Filed 11/08/24 Page 45 of 46



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Case 2:22-cv-12951-JJCG-APP ECF No. 142-5, PageID.2746 Filed 11/08/24 Page 46 of 46




   Appendix F: Acknowledgements
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     Trial Court Funding Commission Final Report                                                           46
